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                   Appendix J: Plaintiffs’ Proposed Special Verdict Forms for
                        Breach of Implied Warranty of Merchantability

   Set forth below are suggested interrogatories that would be presented on Special Verdict Forms at
   Trial. This form is meant to be illustrative only, and not comprehensive. Plaintiffs may suggest
   changes to the special interrogatories herein. Moreover, the absence of any claim or state from the
   suggested classes is not intended to constitute a waiver of any claims currently, or in the future,
   brought in this action.

                          I. MAGNUSON-MOSS IMPLIED WARRANTY CLASS
                                         THE UCC’S BASIC TEST

            An implied warranty of merchantability is implied in a contract for the sale of goods if the
            seller is a merchant with respect to goods of that kind.1

            Some states (Colorado, Michigan, Missouri, New Jersey, Pennsylvania, Texas, and
            Wyoming) incorporate the UCC’s definition of implied warranty.

            Plaintiffs claim that FCA breached the implied warranty of merchantability.

            Do you find by a preponderance of the evidence the following:

            (i)      Did FCA make or sell the Class Vehicles?

                                   Yes                    No

            (ii)     Were plaintiffs foreseeable users of the Class Vehicles?

                                   Yes                    No

            (iii)    Were the Class Vehicles not merchantable (i.e. defective) at the time they left
                     FCA’s possession?

                                   Yes                    No

            (iv)     Did FCA’s breach of implied warranty cause plaintiffs to lose money or
                     suffer damages?

                                   Yes                    No




   1
            UCC § 2-314.



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            (v)      Did FCA have notice of the loss or damages to plaintiffs after the breach
                     within reasonable time?

                                   Yes                  No

            (vi)     Have Plaintiffs proved by a preponderance of the evidence the amount of
                     money lost as a result of FCA’s conduct?

                                   Yes                  No


            If “yes,” complete the following blank: The [Court/Jury] finds that the appropriate amount
            of restitution for Plaintiffs and the Magnuson-Moss Implied Warranty Class is
            $______________. (If you answered “no,” do not complete the blank.)




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                    II. CALIFORNIA SONG-BEVERLY IMPLIED WARRANTY CLASS
                                                BASIC TEST

            Warranties in connection with the sale of goods to consumers in California are governed by
            the Song-Beverly Consumer Warranty Act.2

            Plaintiffs claim that FCA breached the Song-Beverly implied warranty of merchantability.

            Do you find by a preponderance of the evidence the following:

            (i)       Did FCA make or sell the Class Vehicles?

                                    Yes                   No

            (ii)      Were plaintiffs foreseeable users of the Class Vehicles?

                                    Yes                   No

            (iii)     Were the Class Vehicles not merchantable (i.e. defective) at the time they left
                      FCA’s possession?

                                    Yes                   No

            (iv)      Did FCA’s breach of implied warranty cause plaintiffs to lose money or
                      suffer damages?

                                    Yes                   No

            (v)       Have Plaintiffs proved by a preponderance of the evidence the amount of
                      money lost as a result of FCA’s conduct?

                                    Yes                   No


            If “yes,” complete the following blank: The [Court/Jury] finds that the appropriate amount
            of restitution for Plaintiffs and the California Song-Beverly Implied Warranty Class is
            $______________. (If you answered “no,” do not complete the blank.)




   2
            Cal. Civ. Code § 1790 et. seq.



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                    II. LOUISIANA REDHIBITORY DEFECTS WARRANTY CLASS
                                               BASIC TEST

            Louisiana has not adopted the UCC. Instead, Louisiana maintains that a seller warrants the
            buyer against redhibitory defects.

            Plaintiffs claim that FCA breached the Louisiana’s warranty against redhibitory defects.

            Do you find by a preponderance of the evidence the following:

            (i)      Did FCA make or sell the Class Vehicles?

                                  Yes                   No

            (ii)     Were the Class Vehicles so imperfect that had the reasonable plaintiff known
                     of the Defect, he or she would not have purchased the Class Vehicle or would
                     have only purchased the Class Vehicle at a lower price?

                                  Yes                   No

            (iii)    Did FCA have notice of the injury or damages to plaintiff and an opportunity
                     to repair?

                                  Yes                   No

            (iv)     Did FCA’s breach of Louisiana’s warranty against redhibitory defects cause
                     plaintiff to lose money?

                                  Yes                   No

            (v)      Has Plaintiff proved by a preponderance of the evidence the amount of
                     money lost as a result of FCA’s conduct?

                                  Yes                   No

            If “yes,” complete the following blank: The [Court/Jury] finds that the appropriate amount
            of restitution for Plaintiff and the Louisiana Redhibitory Defects Warranty Class is
            $______________. (If you answered “no,” do not complete the blank.)




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